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UNITED STATES DISTRICT COURT S F ALF [)

EASTERN DISTRICT OF LOUISIANA

INDICTMENT FOR VIOLATIONS FE LQ NY
OF THE FEDERAL GUN CONTROL ACT

 

UNITED STATES OF AMERICA * CRIMINAL NO. 9 1 _ 1 " 6
v. * SECTION: SECT. R M AG 4
: Se
SHAWN BREAUX # VIOLATIONS: 18 U.S.C. § 922(g)(1)
18 U.S.C. § 922(0)
* 18 U.S.C. § 924(a)(2)
* * *

The Grand Jury charges that:
COUNT 1
On or about October 8, 2021, in the Eastern District of Louisiana, the defendant, SHAWN
BREAUX, knowing that he had previously been convicted of a crime punishable by imprisonment
for a term exceeding one year, to wit: a conviction in case number 517-428 “A,” in Orleans Parish
Criminal District Court, State of Louisiana, for three counts of Attempted Second Degree Murder,
in violation of LA-R.S. 14:(27)30.1, and one count of Accessory After the Fact to Second Degree
Murder, in violation of LA-R.S. 14:(25)30.1, did knowingly and intentionally possess firearms, to
wit: a .45 caliber ACP Glock 21 handgun, serial number PGK005, and a .40 caliber Glock 23

handgun, serial number BBMD641, said firearms having been in and affecting interstate
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commerce, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

COUNT 2
(Possession of a Machine Gun)

On or about October 8, 2021, in the Eastern District of Louisiana, the defendant, SHAWN
BREAUX, did knowingly possess a machinegun, that is, a .45 caliber ACP Glock 21 handgun,
serial number PGK005, with a Glock auto-sear, in violation of Title 18, United States Code,
Sections 922(0) and 924(a)(2).

NOTICE OF FORFEITURE

1. The allegations of Counts 1 and 2 of this Indictment are incorporated by reference
as though set forth fully herein for the purpose of alleging forfeiture to the United States

2. As a result of the offenses alleged in Counts 1 and 2, the defendant, SHAWN
BREAUX, shall forfeit to the United States pursuant to Title 18, United States Code, Section
924(d)(1), and Title 28, United States Code, Section 2461(c), any firearm or ammunition involved
in or used in the commission of said offenses, including but not limited to any of the following:

ACP Glock 21, .45 caliber handgun, bearing serial number
PGK005, with a Glock auto-sear, loaded with twelve (12) rounds
of Winchester brand, .45 caliber ACP ammunition;

Glock 23, 40 caliber handgun, bearing serial number BBMD641,
loaded with twenty-one (21) rounds of Smith and Wesson .40

caliber ammunition;

Glock pistol accessory known as a “micro roni”.

3. If any of the above-described property, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
C. has been placed beyond the jurisdiction of the Court;
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d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided
without difficulty;

the United States shall seek a money judgment and, pursuant to Title 21, United States Code,

Section 853(p), forfeiture of any other property of the defendant up to the value of said property.

A TRUE BILL:

 

DUANE A. EVANS
UNITED STATES ATTORNEY

INGA PETROVICH
Assistant United States Attorney

New Orleans, Louisiana
December 10, 2021
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